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                                                                                              FEB~ 9 2022
                                       UNITED STATES DISTRICT COURT                          U. S. DISTRICT COURT
                                                                                           EASTERN DISTRICT OF MO
                                       EASTERN DISTRICT OF MISSOURI                                 ST. LOUIS
                                            EASTERN DIVISION


      UNITED STATES-OF AMERICA,                           )
                                                          )
      Plaintiff,                                          )

      v.                                                  ~   1
                                                                  4:22CR00065 AGF/DDN
                                                          )
     , JOHN K. LOW,                                       )
                                                          )       /
      Defendant.                                          )


                                               INDICTMENT

                                                  COUNTI

             The Grand Jury charges that:

             At all times pertinent to the charges in this indictment:

     1.      Federal law defined the term:

             (a) "minor" to mean any person under the age of eighteen years (18 U.S.C. § 2256(a));

             (b) "sexually explicit conduct" to me~ actual or simulated

                    (i) sexual intercourse, including genital-genital, oral-genital, anal-genital, or oral-

                    anal, whether between persons of the same or opposite sex,

                    (ii) bestiality,

                    (iii) masturbation,

                    (iv) sadistic or masochistic abuse, or

                    (v) lascivious exhibition of the anus, genitals, or pubic area of any person
                                                                                                          (
                    (18 U.S.C. § 2256(2)(A)); and

            (c) "computer" to mean an electronic, magn.etic, optical, electrochemical or other high

     speed data processing device performing logical, arithmetic or storage functions, including any
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 data storage facility or communications facility directly related to or operating in conjunction

 with such device. (18 U.S.C. § 2256(6)).

         (d) "child pornography" to mean any visual depiction, including any photograph, film,
                                                     I
 video, picture, or computer or computer-generated image or picture, whether made or produced

 by electronic, mechanical, or othermeans, of sexually explicit conduct, where--

                  (A) the production of such visual depiction involves the use of a minor engaging

                  in sexually explicit conduct; or

                  (C) such visual depiction has been created, adapted, or modified to appear that an

 identifiable minor is engaging in sexually explicit conduct. (18 U.S.C. § 2256(8)).

 2.      The "Internet" was,·and is, a computer communications network using interstate and

 foreign lines to transmit data streams, including data streams used to store, transfer and receive

 graphic files.

 3.      Between on or about January 1, 2022, and on or about January 27, 2022, in the Eastern

 District of Missouri, and elsewhere,

                                      JOHN KENNETH. LOW,

 the defendant herein, being thirty-eight years of age at the time, did use any facility or means of

, interstate or foreign commerce, to knowingly persuade, induce, entice and coerce L.G., a minor

 under the age of sixteen years, to engage in sexual explicit conduct and sexual activity for which

 any person could be charged with a criminal offense, to wit: the defendant persuaded, induced,

 enticed and coerced L.G. to travel from Kansas to Missouri to engage in sexually explicit

 conduct that would constitute a violation of Title 18, United States Code, Section 2243 (sexual

 abuse of a minor), 2244 (abusive sexual contact) and 2423 (transportation of a minor), as well as

 Sections 566.034 (statutory rape in the second degree), 566.064 (statutory sodomy in the second

 degree), 566.071 (child molestation in the fourth degree), 566.083 (sexual misconduct involving

 a child) and 566.151 (enticement of a child) of the Revised Statutes of the Sta~es of Missouri,
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in violation of Title 18, United States Code, Section 2422(b).

                                                COUNT II

        The Grand Jury further charges that:

        1.      The allegations contained in paragraph one and two of Count I of this Indictment are

incorporated by reference as if fully set forth herein.

        2.      Between on or about January 1, 2022 and January 27, 2022, within the Eastern

District of Missouri and elsewhere,

                                      JOHN KENNETH LOW,

the defendant herein, did knowingly transport minor, L.G., who had not attained the age of

sixteen years, in interstate commerce from Kansas to Missouri with the intent that min?r L.G.

engage in sexual activity and sexually explicit conduct for which any person can be charged with

a criminal offense to wit: the defendant transported L.G. from Kansas to Missouri to engage in

sexual activity and sexually explicit conduct that would constitute a violation of Title 18, United

States Code, Section 2243 (sexual abuse of a minor), 2244 (abusive sexual contact) and 2422

(coercion and enticement), as well as Sections 566.034 (statutory rape in the second degree),
                                                           '
566.064 (statutory sodomy in the second degree), 566.071 (child molestation in the fourth·

degree), 566.083 (sexual misconduct involving a child) and 566.151 (enticement of a child) of

the Revised Statutes of the States of Missouri,

in violation of Title 18, United States Code, Section 2423(a).

                                            COUNTID

       The Grand Jury further charges that:

        1.     The allegations contained in paragraph one and two of Count I of this Indictment are

incorporated by reference as if fully set forth herein.

       2.      Between on or about January 1, 2022 and January 27, 2022, within the Eastern

District of Missouri and elsewhere,         0
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     •                                      JOHN KENNETH LOW,

         the defendant herein, did knowingly travel in interstate commerce, between Kansas and

         Missouri, for the purpose of crossing one or more State lines to engage in a sexually explicit

         conduct and illicit sexual conduct with minor L. G., a person under 16 years of age, at a time that

         the defendant was thirty-eight years of age,

         in violation of Title 18, United States Code, Section 2423(b).



                                                        A TRUE BILL.



                                                        FOREPERSON


            SAYLER A. FLEMING
            United States Attorney
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            JILLIAN S. ANDERSON, #53918(MO)
            Assistant United States Attorney




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